Case 1:23-cv-08292-SHS-OTW   Document 271-5   Filed 11/19/24   Page 1 of 44




                 EXHIBIT 5
 Case 1:23-cv-08292-SHS-OTW               Document 271-5       Filed 11/19/24      Page 2 of 44




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 AUTHORS GUILD, et al.
                                                      ECF CASE
                         Plaintiffs,

                v.                                    No. 1:23cv-08292-SHS-OTW
                                                      No. 1:23-cv-10211-SHS-OTW
 OPEN AI INC., et al.,

                         Defendants.


 JONATHAN ALTER, et al.
                                                      DEFENDANT MICROSOFT
                         Plaintiffs,                  CORPORATION’S RESPONSES AND
                                                      OBJECTIONS TO PLAINTIFFS’
                v.                                    SECOND SET OF REQUESTS FOR
                                                      PRODUCTION OF DOCUMENTS
 OPEN AI INC., et al.,

                         Defendants


 DEFENDANT MICROSOFT CORPORATION’S RESPONSES AND OBJECTIONS TO
 PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

       Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendant Microsoft Corporation

(“Microsoft”) responds to Plaintiffs’ Second Set of Requests for Production of Documents

(“Requests”) as follows:

                                       GENERAL OBJECTIONS

       Microsoft’s responses are subject to the following objections to the “Definitions” and

“Instructions” provided with the Requests, each of which is hereby incorporated by reference into

Microsoft’s responses below. If Microsoft objects to a definition of a term and that term is used in

the definition of a subsequent term, Microsoft’s objections to the term used in the subsequent

definition are incorporated by reference therein.
 Case 1:23-cv-08292-SHS-OTW             Document 271-5         Filed 11/19/24     Page 3 of 44




        1.     Microsoft objects to the definition of the term “Communication(s)” to the extent it

is broader than or inconsistent with the definition provided in Local Civil Rule 26.3, which

provides for uniform definitions in discovery requests. For the purposes of responding to the

Requests, Microsoft will construe the term “Communication(s)” to mean “transmittal of

information (in the form of facts, ideas, inquiries, or otherwise)” as defined in Local Civil Rule

26.3.

        2.     Microsoft objects to the definition of the term “Document(s)” to the extent it is

broader than or inconsistent with the definition provided in Local Civil Rule 26.3, which provides

for uniform definitions in discovery requests. For the purposes of responding to the Requests,

Microsoft will construe the term “Document(s)” to be synonymous in meaning and equal in scope

to the usage of the term “documents or electronically stored information” in Federal Rule of Civil

Procedure 34(a)(1)(A), as defined in Local Civil Rule 26.3.

        3.     Microsoft objects to the definition of the terms “You,” “Your,” and “Microsoft” on

the grounds that they are overly broad, unduly burdensome, not proportional to the needs of the

case, seek information that is privileged or immune from discovery, and include persons or entities

over which Microsoft has no control and, therefore, Microsoft does not have possession, custody,

or control of information of any such persons or entities. For the purposes of responding to the

Requests, Microsoft will interpret each of these terms to mean Microsoft Corporation.

        4.     Microsoft objects to the definition of “OpenAI” on the grounds that it is overly

broad, unduly burdensome, and disproportionate to the needs of the case to the extent it includes

entities other than the OpenAI entities listed as Defendants and persons other than the OpenAI

Defendants’ present and former officers, directors, and employees acting in that capacity. For

purposes of responding to the Requests, Microsoft will construe the term “OpenAI” to only include



                                                2
 Case 1:23-cv-08292-SHS-OTW                Document 271-5         Filed 11/19/24       Page 4 of 44




the OpenAI Defendants and their present and former officers, directors, and employees, acting in

that capacity.

       5.        Microsoft objects to the definition of the terms “Large Language Model,” “LLM,”

“AI Model(s),” “Generative AI system(s),” and “model(s),” on the grounds that it is overly broad,

unduly burdensome, and not proportional to the needs of the case to the extent that it includes

generative artificial intelligence models that are not identified in the First Consolidated Class

Action Complaint filed at Fiction Docket, No. 1:23-cv-08292-SHS, ECF No. 69 (the

“Consolidated Complaint”) and that have no relationship to Microsoft. For purposes of responding

to the Requests, Microsoft will interpret the terms “Large Language Model,” “LLM,” “AI

Model(s),” “Generative AI system(s),” and “model(s),” to mean the specific large language models

and generative artificial intelligence models identified in the Consolidated Complaint: GPT-3,

GPT-3.5, GPT-4, and GPT-4 Turbo (“Relevant Generative AI Models”). Microsoft objects to the

definition of the term “API Product(s)” on the grounds that it is overly broad, unduly burdensome,

and not proportional to the needs of the case because they bear no relationship to the infringement

allegations in the Consolidated Complaint, which are focused on the training of the Relevant

Generative AI Models.

       6.        Microsoft objects to the definition of the term “Person(s)” to the extent it is broader

than or inconsistent with the definition provided in Local Civil Rule 26.3, which provides for

uniform definitions in discovery requests. For the purposes of responding to the Requests,

Microsoft will construe the term “Person(s)” to mean “any natural person or any legal entity,

including, without limit, any business or governmental entity or association” as defined in Local

Civil Rule 26.3.




                                                   3
 Case 1:23-cv-08292-SHS-OTW              Document 271-5        Filed 11/19/24      Page 5 of 44




       7.      Microsoft objects to the definition of the terms “Fine Tune(d),” “Fine Tuning,”

“Pre-Train(ed),” “Pre-Training,” “Train[ed],” and “Training” on the ground that it is vague and

ambiguous in that it states that these terms “have the same meaning as the term discussed in Your

website materials and statements,” and then allegedly quotes portions of OpenAI’s website and

not Microsoft’s website.

       8.      Microsoft objects to the definition of “ChatGPT” on the grounds that it is overly

broad, unduly burdensome, and not proportional to the needs of the case to the extent that it

includes any consumer-facing applications developed by OpenAI that are not specifically

identified in the Consolidated Complaint and to the extent that it incorporates the definition of

“LLM.” Microsoft will interpret this term to mean the specific consumer-facing applications

developed by OpenAI, and in which the underlying LLM(s) includes those set forth above,

identified in the Consolidated Complaint: ChatGPT, ChatGPT Plus, and ChatGPT Enterprise.

       9.      Microsoft objects to the definition of the term “Concern” to the extent it is broader

than or inconsistent with the definition provided in Local Civil Rule 26.3, which provides for

uniform definitions in discovery requests. For the purposes of responding to the Requests,

Microsoft will construe the term “Concern” to mean “relat[e] to, refer[] to, describ[e], evidenc[e],

or constitut[e]” as defined in Local Civil Rule 26.3.

       10.     Microsoft objects to the definition of the term “Training Material” on the grounds

that it is overly broad, unduly burdensome, and not proportional to the needs of the case to the

extent that it includes any data other than text data that may have been used to train an LLM

because the allegations in the Consolidated Complaint relate solely to text-based generative

artificial intelligence models. For purposes of responding to the Requests, Microsoft will construe

the term “Training Material” to be limited to text data.



                                                 4
 Case 1:23-cv-08292-SHS-OTW               Document 271-5       Filed 11/19/24     Page 6 of 44




       11.     Microsoft objects to the relevant time period of January 1, 2015, to present on the

grounds that is overly broad, unduly burdensome, and not proportional to the needs of the case to

the extent that it includes time frames that are unrelated to the allegations in the Consolidated

Complaint. For purposes of responding to the Requests, Microsoft will conduct a reasonable search

for documents starting January 1, 2018.

       12.     Microsoft objects to each of the Requests as vague and ambiguous because many

of the Requests imply, suggest and/or assume that Microsoft trained or otherwise developed

OpenAI’s models. Microsoft did not train the Relevant Generative AI Models, does not possess

the training datasets OpenAI used to train the Relevant Generative AI Models, and is unaware of

the contents of the training datasets used by OpenAI to train the Relevant Generative AI Models.

Microsoft will not search for or produce documents in response to Requests that imply, suggest

and/or assume that Microsoft trained or otherwise developed OpenAI’s models.

       13.     Microsoft objects to each Request to the extent it seeks information or documents

that are subject to the attorney-client privilege, work product doctrine, joint defense privilege,

common interest protection, or any other applicable privilege, immunity, or protection provided

by law, or that are trial preparation materials (collectively “Privileged Materials”). Privileged

Materials will not be produced.

       14.     Microsoft objects to all “Definitions and “Instructions” as overly broad, unduly

burdensome, and not proportional to the needs of the case because they seek to impose upon

Microsoft burdens in addition to or inconsistent with those set forth in the Federal Rules of Civil

Procedure; the Local Rules of this Court, especially Local Civil Rule 26.3, which provides for

uniform definitions in discovery requests; and any other applicable rules or laws. Microsoft will

interpret these Definitions and Instructions as not requiring Microsoft to perform unreasonable



                                                5
 Case 1:23-cv-08292-SHS-OTW               Document 271-5       Filed 11/19/24     Page 7 of 44




searches, not requiring cumulative or duplicative discovery, and not requiring Microsoft to exceed

the obligations set forth in the applicable rules and laws.

       15.     Documents will be produced on a rolling basis in accordance with the schedule

governing these Actions, as ordered by the Court.

                     RESPONSES TO REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 41:

       Documents sufficient to identify all datasets containing commercial works of fiction

and/or nonfiction, including Class Works, that You or OpenAI accessed, downloaded or copied to

train Large Language Models.

RESPONSE TO REQUEST FOR PRODUCTION NO. 41:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to the term “copied” to the extent it assumes or

implies that Microsoft or OpenAI created a “copy” as defined by the Copyright Act. Microsoft

further objects to this Request to the extent it assumes that Microsoft trained or otherwise

developed OpenAI’s models or applications identified in the Consolidated Complaint. Microsoft

did not train the Relevant Generative AI Models, does not possess the training datasets OpenAI

used to train the Relevant Generative AI Models, and is unaware of the contents of the training

datasets used by OpenAI to train the Relevant Generative AI Models. Microsoft further objects to

this Request as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs

of the case because it requests information concerning all of Microsoft’s and OpenAI’s training

datasets, pre-training datasets, and/or fine-tuning datasets, regardless of whether they have been

identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in these

Actions.



                                                  6
 Case 1:23-cv-08292-SHS-OTW               Document 271-5         Filed 11/19/24      Page 8 of 44




       Subject to these objections, Microsoft responds as follows: Microsoft objects to this

Request because it implies, suggests, and/or assumes that Microsoft trained or otherwise developed

OpenAI’s models. Microsoft has already made a thorough investigation (including custodial and

non-custodial material) into the issue of whether it had any role in OpenAI’s pretraining of its

LLMs. As such, Microsoft is relying upon this objection for the purpose of limiting the scope of

its investigation on this particular topic to the reasonable search it has already conducted regarding

the subject matter of this Request and its ongoing investigation of other topics. As part of

Microsoft’s ongoing investigation in this case, it has and will continue to search for (including

custodial ESI searches) and produce non-privileged, responsive material related to the training of

OpenAI’s LLMs.

REQUEST FOR PRODUCTION NO. 42:

       Documents Concerning or Relating to any complaints You have received regarding Your

or OpenAI’s use of potentially copyrighted material in training Large Language Models.

RESPONSE TO REQUEST FOR PRODUCTION NO. 42:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

that it seeks information concerning any complaint of use of any potentially copyrighted material,

owned by anyone, at any time, and without any subject matter or geographic limitation. Microsoft

further objects to this Request to the extent it assumes that Microsoft trained or otherwise

developed OpenAI’s models or applications identified in the Consolidated Complaint. Microsoft

did not train the Relevant Generative AI Models, does not possess the training datasets OpenAI

used to train the Relevant Generative AI Models, and is unaware of the contents of the training

datasets used by OpenAI to train the Relevant Generative AI Models. Microsoft further objects to
                                                  7
 Case 1:23-cv-08292-SHS-OTW              Document 271-5         Filed 11/19/24      Page 9 of 44




this Request as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs

of the case because it requests information concerning all of Microsoft’s and OpenAI’s training

datasets, pre-training datasets, and/or fine-tuning datasets, regardless of whether they have been

identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in these

Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, concerning any

complaints of copyright infringement that Microsoft has received regarding OpenAI’s use of text

data to train Relevant Generative AI Models.

REQUEST FOR PRODUCTION NO. 43:

       Documents Concerning or Relating to Your policies or procedures Relating to receiving,

processing, or responding to complaints regarding Your or OpenAI’s use of potentially

copyrighted material in training Large Language Models.

RESPONSE TO REQUEST FOR PRODUCTION NO. 43:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

that it seeks information concerning any complaint of use of any potentially copyrighted material,

owned by anyone, at any time, and without any subject matter or geographic limitation. Microsoft

further objects to this Request to the extent it assumes that Microsoft trained or otherwise

developed OpenAI’s models or applications identified in the Consolidated Complaint. Microsoft

did not train the Relevant Generative AI Models, does not possess the training datasets OpenAI

used to train the Relevant Generative AI Models, and is unaware of the contents of the training

datasets used by OpenAI to train the Relevant Generative AI Models. Microsoft further objects to
                                                 8
 Case 1:23-cv-08292-SHS-OTW              Document 271-5        Filed 11/19/24      Page 10 of 44




this Request as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs

of the case because it requests information concerning all of Microsoft’s and OpenAI’s training

datasets, pre-training datasets, and/or fine-tuning datasets, regardless of whether they have been

identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in these

Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, concerning

Microsoft’s policies and procedures relating to receiving, processing, or responding to any

complaints of copyright infringement that Microsoft has received regarding OpenAI’s use of text

data to train Relevant Generative AI Models.

REQUEST FOR PRODUCTION NO. 44:

       Documents sufficient to identify any effort by You or OpenAI to remedy or mitigate Your

or OpenAI’s unauthorized use of copyrighted material to train any Large Language Models.

RESPONSE TO REQUEST FOR PRODUCTION NO. 44:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to the phrase “remedy or mitigate Your or

OpenAI’s unauthorized use of copyrighted material” because it assumes that Microsoft or OpenAI

has made unauthorized uses of copyrighted material, which Microsoft does not accept as correct,

and which appears to require a legal conclusion. Microsoft also objects to this Request on the

grounds that it is irrelevant and/or overly broad, unduly burdensome, and not proportional to the

needs of the case to the extent that it seeks information concerning any use of copyrighted material,

owned by anyone, at any time, and without any subject matter or geographic limitation. Microsoft

further objects to this Request to the extent it assumes that Microsoft trained or otherwise

developed OpenAI’s models or applications identified in the Consolidated Complaint. Microsoft
                                                 9
 Case 1:23-cv-08292-SHS-OTW             Document 271-5        Filed 11/19/24      Page 11 of 44




did not train the Relevant Generative AI Models, does not possess the training datasets OpenAI

used to train the Relevant Generative AI Models, and is unaware of the contents of the training

datasets used by OpenAI to train the Relevant Generative AI Models. Microsoft further objects to

this Request as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs

of the case because it requests information concerning all of Microsoft’s and OpenAI’s training

datasets, pre-training datasets, and/or fine-tuning datasets, regardless of whether they have been

identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in these

Actions.

       Subject to these objections, Microsoft responds as follows: Because this Request assumes

that Microsoft or OpenAI has made unauthorized uses of copyrighted material, which Microsoft

does not accept occurred and which appears to require a legal conclusion, Microsoft will not search

for and produce documents in response to this Request.

REQUEST FOR PRODUCTION NO. 45:

       All Communications between January 1, 2016 and December 31, 2022, related to the use

or reproduction of copyrighted materials to train any artificial intelligence model OpenAI

developed, including without limitation all Large Language Models and diffusion models (e.g.,

DALL-E, Codex, GPT-2).

RESPONSE TO REQUEST FOR PRODUCTION NO. 45:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to the timeframe of January 1, 2016, to December

31, 2022, on the grounds that it is irrelevant and/or overly broad, unduly burdensome, and not

proportional to the needs of the case to the extent that it seeks communications prior to when

Microsoft partnered with OpenAI in 2019. Microsoft also objects to the term “reproduction” to the

extent it assumes or implies that Microsoft or OpenAI “reproduce[ed]” any “copyrighted
                                                10
 Case 1:23-cv-08292-SHS-OTW              Document 271-5         Filed 11/19/24      Page 12 of 44




materials” as defined by the Copyright Act. Microsoft also objects to the Request as overly broad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll

Communications.” Microsoft further objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

that it seeks information concerning any use of any copyrighted material, owned by anyone, at any

time, and without any subject matter or geographic limitation. Microsoft further objects to this

Request to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models

or applications identified in the Consolidated Complaint. Microsoft did not train the Relevant

Generative AI Models, does not possess the training datasets OpenAI used to train the Relevant

Generative AI Models, and is unaware of the contents of the training datasets used by OpenAI to

train the Relevant Generative AI Models. Microsoft further objects to this Request as irrelevant

and/or vague, ambiguous, overly broad, and not proportional to the needs of the case because it

requests information concerning all of Microsoft’s and OpenAI’s training datasets, pre-training

datasets, and/or fine-tuning datasets, regardless of whether they have been identified in the

Consolidated Complaint and/or bear any relation to the LLMs at issue in these Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft objects to this

Request because it implies, suggests, and/or assumes that Microsoft trained or otherwise developed

OpenAI’s models. Microsoft has already made a thorough investigation (including custodial and

non-custodial material) into the issue of whether it had any role in OpenAI’s pretraining of its

LLMs. As such, Microsoft is relying upon this objection for the purpose of limiting the scope of

its investigation on this particular topic to the reasonable search it has already conducted regarding

the subject matter of this Request and its ongoing investigation of other topics. As part of

Microsoft’s ongoing investigation in this case, it has and will continue to search for (including



                                                 11
 Case 1:23-cv-08292-SHS-OTW              Document 271-5        Filed 11/19/24      Page 13 of 44




custodial ESI searches) and produce non-privileged, responsive material related to the training of

OpenAI’s LLMs.

REQUEST FOR PRODUCTION NO. 46:

       Documents sufficient to show all attempts by You or OpenAI to obtain a license for the

use of text or audio works in connection with the development of any Large Language Model(s),

including but not limited to Documents reflecting any negotiations of such licenses.

RESPONSE TO REQUEST FOR PRODUCTION NO. 46:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

that it seeks information concerning licensing of any works, owned by anyone, at any time, and

without any subject matter or geographic limitation. Microsoft also objects to this Request to the

extent that it includes “audio works” on the grounds that is irrelevant and/or overly broad, unduly

burdensome, and not proportional to the needs of the case in that the Consolidated Complaint does

not include any allegations regarding audio works. Microsoft also objects to the term

“development” as vague and ambiguous in that this term is undefined. Microsoft understands

“development” as meaning “training” in this Request. Microsoft further objects to the term

“license” as vague and ambiguous. Microsoft will interpret the term “license” to mean “an

agreement to access or use.” Microsoft also objects to this Request as irrelevant and/or overly

broad and not proportional to the needs of the case because it requests information concerning

“attempts” to obtain a license. Microsoft will produce documents concerning licensing agreements

that were completed, finalized, and/or executed. Microsoft further objects to this Request to the

extent it assumes that Microsoft trained or otherwise developed OpenAI’s models or applications

identified in the Consolidated Complaint. Microsoft did not train the Relevant Generative AI
                                                 12
 Case 1:23-cv-08292-SHS-OTW              Document 271-5        Filed 11/19/24      Page 14 of 44




Models, does not possess the training datasets OpenAI used to train the Relevant Generative AI

Models, and is unaware of the contents of the training datasets used by OpenAI to train the

Relevant Generative AI Models.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and, pending fulfillment of any notification or confidentiality obligations

Microsoft may have to applicable third-party individuals or organizations, produce responsive,

nonprivileged documents, if any, sufficient to show licensing and/or data-access agreements in the

United States, dated on or after January 1, 2019, that provide for Microsoft and/or OpenAI to

receive, access, and/or use text data in training Large Language Models. For the purposes of this

response only, “Large Language Models” refers to deep learning models that are trained using very

large amounts of text data to generate text, including but not limited to LLMs as defined in

Microsoft’s General Objections.

REQUEST FOR PRODUCTION NO. 47:

       All Documents Concerning or Relating to Your decision(s) to seek or obtain a license to

use any copyrighted material as Training Material.

RESPONSE TO REQUEST FOR PRODUCTION NO. 47:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

that it seeks information concerning licensing of any copyrighted material, owned by anyone, at

any time, and without any subject matter or geographic limitation. Microsoft also objects to this

Request to the extent that it includes “any” material on the grounds that is irrelevant and/or overly

broad, unduly burdensome, and not proportional to the needs of the case in that the Consolidated

Complaint alleges conduct related to text works and not “any” material. Microsoft objects to the
                                                 13
 Case 1:23-cv-08292-SHS-OTW            Document 271-5        Filed 11/19/24     Page 15 of 44




phrase “decision(s) to seek or obtain a license” as vague and ambiguous because it assumes that

Microsoft made or was otherwise involved with any decision, in any capacity, including the

consideration, contemplation, or effectuation thereof, regarding the contents of the data used by

OpenAI for training. Microsoft also objects to the Request as overly broad, unduly burdensome,

and not proportional to the needs of the case to the extent it seeks “[a]ll Documents.” Microsoft

further objects to the term “license” as vague and ambiguous. Microsoft will interpret the term

“license” to mean “an agreement to access or use.” Microsoft also objects to this Request as

irrelevant and/or overly broad and not proportional to the needs of the case because it requests

information concerning “decision(s) to seek or obtain” a license. Microsoft will produce

documents concerning licensing agreements that were completed, finalized, and/or executed.

Microsoft further objects to this Request to the extent it assumes that Microsoft trained or

otherwise developed OpenAI’s models or applications identified in the Consolidated Complaint.

Microsoft did not train the Relevant Generative AI Models, does not possess the training datasets

OpenAI used to train the Relevant Generative AI Models, and is unaware of the contents of the

training datasets used by OpenAI to train the Relevant Generative AI Models.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and, pending fulfillment of any notification or confidentiality obligations

Microsoft may have to applicable third-party individuals or organizations, produce responsive,

nonprivileged documents, if any, concerning Microsoft’s licensing and/or data-access agreements

in the United States, dated on or after January 1, 2019, that provide for Microsoft and/or OpenAI

to receive, access, and/or use text data in training Large Language Models. For the purposes of

this response only, “Large Language Models” refers to deep learning models that are trained using




                                               14
 Case 1:23-cv-08292-SHS-OTW             Document 271-5       Filed 11/19/24      Page 16 of 44




very large amounts of text data to generate text, including but not limited to LLMs as defined in

Microsoft’s General Objections.

REQUEST FOR PRODUCTION NO. 48:

       All Documents Concerning or Relating to the relative value of different types of

Training Material.

RESPONSE TO REQUEST FOR PRODUCTION NO. 48:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to the phrase “different types” as vague and

ambiguous in that this phrase is undefined. Microsoft also objects to the Request as overly broad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll

Documents.” Microsoft further objects to this Request to the extent it assumes that Microsoft

trained or otherwise developed OpenAI’s models or applications identified in the Consolidated

Complaint. Microsoft did not train the Relevant Generative AI Models, does not possess the

training datasets OpenAI used to train the Relevant Generative AI Models, and is unaware of the

contents of the training datasets used by OpenAI to train the Relevant Generative AI Models.

Microsoft further objects to this Request as irrelevant and/or vague, ambiguous, overly broad, and

not proportional to the needs of the case because it requests information concerning all of

Microsoft’s and OpenAI’s training datasets, pre-training datasets, and/or fine-tuning datasets,

regardless of whether they have been identified in the Consolidated Complaint and/or bear any

relation to the LLMs at issue in these Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, concerning the value

of text data in connection with OpenAI’s training of the Relevant Generative AI Models.



                                                  15
 Case 1:23-cv-08292-SHS-OTW              Document 271-5         Filed 11/19/24      Page 17 of 44




REQUEST FOR PRODUCTION NO. 49:

       All Documents concerning or relating to OpenAI deriving Training Material from any

physical books or audiobooks.

RESPONSE TO REQUEST FOR PRODUCTION NO. 49:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

that it seeks information concerning use of any physical books or audiobooks, owned by anyone,

at any time, and without any subject matter or geographic limitation. Microsoft also objects to this

Request as vague and ambiguous because the meaning of “deriving” in this Request is unclear and

objects to this term to the extent it assumes or implies that any Training Material is a derivative

work as defined by the Copyright Act. Microsoft also objects to the Request as overly broad,

unduly burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll

Documents.” Microsoft further objects to this Request to the extent it assumes that Microsoft

trained or otherwise developed OpenAI’s models or applications identified in the Consolidated

Complaint. Microsoft did not train the Relevant Generative AI Models, does not possess the

training datasets OpenAI used to train the Relevant Generative AI Models, and is unaware of the

contents of the training datasets used by OpenAI to train the Relevant Generative AI Models.

Microsoft also objects to this Request to the extent that it includes “audiobooks” on the grounds

that is irrelevant and/or overly broad, unduly burdensome, and not proportional to the needs of the

case in that the Consolidated Complaint does not include any allegations regarding audiobooks.

Microsoft further objects to this Request as irrelevant and/or vague, ambiguous, overly broad, and

not proportional to the needs of the case because it requests information concerning all of OpenAI’s

training datasets, pre-training datasets, and/or fine-tuning datasets, regardless of whether they have
                                                 16
 Case 1:23-cv-08292-SHS-OTW              Document 271-5         Filed 11/19/24      Page 18 of 44




been identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in

these Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft objects to this

Request because it implies, suggests, and/or assumes that Microsoft trained or otherwise developed

OpenAI’s models. Microsoft has already made a thorough investigation (including custodial and

non-custodial material) into the issue of whether it had any role in OpenAI’s pretraining of its

LLMs. As such, Microsoft is relying upon this objection for the purpose of limiting the scope of

its investigation on this particular topic to the reasonable search it has already conducted regarding

the subject matter of this Request and its ongoing investigation of other topics. As part of

Microsoft’s ongoing investigation in this case, it has and will continue to search for (including

custodial ESI searches) and produce non-privileged, responsive material related to the training of

OpenAI’s LLMs.

REQUEST FOR PRODUCTION NO. 50:

       All Documents Concerning or Relating to OpenAI’s use of digital books as Training

Material.

RESPONSE TO REQUEST FOR PRODUCTION NO. 50:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

that it seeks information concerning use of any digital books, owned by anyone, at any time, and

without any subject matter or geographic limitation. Microsoft also objects to the Request as overly

broad, unduly burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll

Documents.” Microsoft further objects to this Request to the extent it assumes that Microsoft

trained or otherwise developed OpenAI’s models or applications identified in the Consolidated
                                                 17
 Case 1:23-cv-08292-SHS-OTW              Document 271-5         Filed 11/19/24      Page 19 of 44




Complaint. Microsoft did not train the Relevant Generative AI Models, does not possess the

training datasets OpenAI used to train the Relevant Generative AI Models, and is unaware of the

contents of the training datasets used by OpenAI to train the Relevant Generative AI Models.

Microsoft further objects to this Request as irrelevant and/or vague, ambiguous, overly broad, and

not proportional to the needs of the case because it requests information concerning all of OpenAI’s

training datasets, pre-training datasets, and/or fine-tuning datasets, regardless of whether they have

been identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in

these Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft objects to this

Request because it implies, suggests, and/or assumes that Microsoft trained or otherwise developed

OpenAI’s models. Microsoft has already made a thorough investigation (including custodial and

non-custodial material) into the issue of whether it had any role in OpenAI’s pretraining of its

LLMs. As such, Microsoft is relying upon this objection for the purpose of limiting the scope of

its investigation on this particular topic to the reasonable search it has already conducted regarding

the subject matter of this Request and its ongoing investigation of other topics. As part of

Microsoft’s ongoing investigation in this case, it has and will continue to search for (including

custodial ESI searches) and produce non-privileged, responsive material related to the training of

OpenAI’s LLMs.

REQUEST FOR PRODUCTION NO. 51:

       Documents sufficient to show any reproduction of the data OpenAI used to train any

Large Language Model, including any reproductions that came into Microsoft’s possession.

RESPONSE TO REQUEST FOR PRODUCTION NO. 51:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to the term “reproduction” to the extent it assumes
                                                 18
 Case 1:23-cv-08292-SHS-OTW             Document 271-5        Filed 11/19/24      Page 20 of 44




or implies that Microsoft or OpenAI “reproduc[ed]” any data as defined by the Copyright Act.

Microsoft also objects to this Request on the grounds that it is irrelevant and/or overly broad,

unduly burdensome, and not proportional to the needs of the case to the extent that it seeks

information concerning use of any data, owned by anyone, at any time, and without any subject

matter or geographic limitation. Microsoft further objects to this Request to the extent it assumes

that Microsoft trained or otherwise developed OpenAI’s models or applications identified in the

Consolidated Complaint. Microsoft did not train the Relevant Generative AI Models, does not

possess the training datasets OpenAI used to train the Relevant Generative AI Models, and is

unaware of the contents of the training datasets used by OpenAI to train the Relevant Generative

AI Models. Microsoft further objects to this Request as irrelevant and/or vague, ambiguous, overly

broad, and not proportional to the needs of the case because it requests information concerning all

of OpenAI’s training datasets, pre-training datasets, and/or fine-tuning datasets, regardless of

whether they have been identified in the Consolidated Complaint and/or bear any relation to the

LLMs at issue in these Actions.

       Subject to these objections, Microsoft will conduct a reasonable search and produce

responsive, nonprivileged documents, if any, concerning any reproduction of the data OpenAI used

to train any Relevant Generative AI Models that came into Microsoft’s possession.

REQUEST FOR PRODUCTION NO. 52:

       All Documents and Communications Concerning or Relating to the use or contemplated

use of material from any text data repository (e.g. Library Genesis, Internet Archive, Z-Library,

Common Crawl, WebText, Project Gutenberg, Anna’s Archive, Open Library, Reddit, DuXiu) as

Training Material.




                                                19
 Case 1:23-cv-08292-SHS-OTW              Document 271-5        Filed 11/19/24      Page 21 of 44




RESPONSE TO REQUEST FOR PRODUCTION NO. 52:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

that it seeks information concerning use or contemplated use of material from any text data

repository, owned by anyone, at any time, and without any subject matter or geographic limitation.

Microsoft also objects to the Request as overly broad, unduly burdensome, and not proportional

to the needs of the case to the extent it seeks “[a]ll Documents and Communications.” Microsoft

further objects to this Request to the extent it assumes that Microsoft trained or otherwise

developed OpenAI’s models or applications identified in the Consolidated Complaint. Microsoft

did not train the Relevant Generative AI Models, does not possess the training datasets OpenAI

used to train the Relevant Generative AI Models, and is unaware of the contents of the training

datasets used by OpenAI to train the Relevant Generative AI Models. Microsoft further objects to

this Request as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs

of the case because it requests information concerning all of Microsoft’s and OpenAI’s training

datasets, pre-training datasets, and/or fine-tuning datasets, regardless of whether they have been

identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in these

Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft objects to this

Request because it implies, suggests, and/or assumes that Microsoft trained or otherwise developed

OpenAI’s models. Microsoft has already made a thorough investigation (including custodial and

non-custodial material) into the issue of whether it had any role in OpenAI’s pretraining of its

LLMs. As such, Microsoft is relying upon this objection for the purpose of limiting the scope of



                                                 20
 Case 1:23-cv-08292-SHS-OTW               Document 271-5        Filed 11/19/24      Page 22 of 44




its investigation on this particular topic to the reasonable search it has already conducted regarding

the subject matter of this Request and its ongoing investigation of other topics. As part of

Microsoft’s ongoing investigation in this case, it has and will continue to search for (including

custodial ESI searches) and produce non-privileged, responsive material related to the training of

OpenAI’s LLMs.

REQUEST FOR PRODUCTION NO. 53:

       All Documents Concerning or Relating to OpenAI’s potential exhaustion of available

text data for use as Training Material.

RESPONSE TO REQUEST FOR PRODUCTION NO. 53:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

that it seeks information concerning available text data, owned by anyone, at any time, and without

any subject matter or geographic limitation. Microsoft also objects to this Request as vague, and

ambiguous because “exhaustion of available text data” is not defined. Microsoft understands this

phrase to mean “lack of new text data and/or different text data from data already used as Training

Material.” Microsoft also objects to the Request as overly broad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “[a]ll Documents.” Microsoft further

objects to this Request to the extent it assumes that Microsoft trained or otherwise developed

OpenAI’s models or applications identified in the Consolidated Complaint. Microsoft did not train

the Relevant Generative AI Models, does not possess the training datasets OpenAI used to train

the Relevant Generative AI Models, and is unaware of the contents of the training datasets used

by OpenAI to train the Relevant Generative AI Models. Microsoft further objects to this Request

as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs of the case
                                                 21
 Case 1:23-cv-08292-SHS-OTW              Document 271-5         Filed 11/19/24      Page 23 of 44




because it requests information concerning all of OpenAI’s training datasets, pre-training datasets,

and/or fine-tuning datasets, regardless of whether they have been identified in the Consolidated

Complaint and/or bear any relation to the LLMs at issue in these Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, concerning OpenAI’s

potential lack of new text data and/or different text data from data already used as Training

Material.

REQUEST FOR PRODUCTION NO. 54:

       Documents sufficient to show when You became aware of each dataset used to train

OpenAI’s Large Language Models, including but not limited to, all Documents Concerning

and Relating to the “writeup of OpenAI's technical results on large language models” OpenAI

sent to You in February 2020 that “include[d] details on training methods, datasets, etc to facilitate

comparisons and collaboration.” (MSFT_AICPY_000228653).

RESPONSE TO REQUEST FOR PRODUCTION NO. 54:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request because the phrase “became aware

of each dataset used to train OpenAI’s Large Language Models” assumes that Microsoft gained

such awareness, which Microsoft does not accept occurred. Microsoft further objects to this

Request to the extent it assumes that Microsoft trained or otherwise developed OpenAI’s models

or applications identified in the Consolidated Complaint. Microsoft did not train the Relevant

Generative AI Models, does not possess the training datasets OpenAI used to train the Relevant

Generative AI Models, and is unaware of the contents of the training datasets used by OpenAI to

train the Relevant Generative AI Models. Microsoft objects to this Request as irrelevant and/or

vague, ambiguous, overly broad, and not proportional to the needs of the case because it requests
                                                 22
 Case 1:23-cv-08292-SHS-OTW              Document 271-5         Filed 11/19/24      Page 24 of 44




information concerning all of OpenAI’s training datasets, pre-training datasets, and/or fine-tuning

datasets, regardless of whether they have been identified in the Consolidated Complaint and/or

bear any relation to the LLMs at issue in these Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft objects to this

Request because it implies, suggests, and/or assumes that Microsoft trained or otherwise developed

OpenAI’s models. Microsoft has already made a thorough investigation (including custodial and

non-custodial material) into the issue of whether it had any role in OpenAI’s pretraining of its

LLMs. As such, Microsoft is relying upon this objection for the purpose of limiting the scope of

its investigation on this particular topic to the reasonable search it has already conducted regarding

the subject matter of this Request and its ongoing investigation of other topics. As part of

Microsoft’s ongoing investigation in this case, it has and will continue to search for (including

custodial ESI searches) and produce non-privileged, responsive material related to the training of

OpenAI’s LLMs.

REQUEST FOR PRODUCTION NO. 55:

       All Documents Concerning or Relating to the relative value of different types of text data

in training Large Language Models.

RESPONSE TO REQUEST FOR PRODUCTION NO. 55:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request as duplicative of Request No. 48.

Microsoft also objects to the phrase “different types” as vague and ambiguous in that this phrase

is undefined. Microsoft also objects to the Request as overly broad, unduly burdensome, and not

proportional to the needs of the case to the extent it seeks “[a]ll Documents.” Microsoft further

objects to this Request to the extent it assumes that Microsoft trained or otherwise developed

OpenAI’s models or applications identified in the Consolidated Complaint. Microsoft did not train
                                                 23
 Case 1:23-cv-08292-SHS-OTW              Document 271-5        Filed 11/19/24      Page 25 of 44




the Relevant Generative AI Models, does not possess the training datasets OpenAI used to train

the Relevant Generative AI Models, and is unaware of the contents of the training datasets used

by OpenAI to train the Relevant Generative AI Models. Microsoft further objects to this Request

as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs of the case

because it requests information concerning all of Microsoft’s and OpenAI’s training datasets, pre-

training datasets, and/or fine-tuning datasets, regardless of whether they have been identified in

the Consolidated Complaint and/or bear any relation to the LLMs at issue in these Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, concerning the value

of text data in connection with OpenAI’s training of the Relevant Generative AI Models.

REQUEST FOR PRODUCTION NO. 56:

       All Documents Concerning or Relating to any programming of any Large Language

Models developed by OpenAI designed or intended—in whole or in part—to avoid copyright

infringement and/or to avoid reproducing materials used to train the Large Language Models or

ChatGPT.

RESPONSE TO REQUEST FOR PRODUCTION NO. 56:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

it seeks information that is not relevant to the Consolidated Complaint, which focus on use of

Plaintiffs’ works to train the LLMs, not development or use of an LLM after training or outputs of

products or applications using an LLM. Microsoft also objects to the Request as vague and

ambiguous because the meaning of “programming” in this Request is unclear. Microsoft also

objects to the Request as overly broad, unduly burdensome, and not proportional to the needs of
                                                 24
 Case 1:23-cv-08292-SHS-OTW             Document 271-5        Filed 11/19/24      Page 26 of 44




the case to the extent it seeks “[a]ll Documents and Communications.” Microsoft further objects

to this Request to the extent it assumes that Microsoft programmed, trained, or otherwise

developed OpenAI’s models or applications identified in the Consolidated Complaint. Microsoft

did not train the Relevant Generative AI Models, does not possess the training datasets OpenAI

used to train the Relevant Generative AI Models, and is unaware of the contents of the training

datasets used by OpenAI to train the Relevant Generative AI Models, and further does not develop

ChatGPT and/or OpenAI’s consumer-facing applications. Microsoft further objects to this Request

as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs of the case

because it requests information concerning all of OpenAI’s LLMs, regardless of whether they have

been identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in

these Actions.

       Subject to these objections, Microsoft responds as follows: Microsoft will not currently

search for and produce documents in response to this Request, but is willing to meet and confer

regarding the scope of this Request.

REQUEST FOR PRODUCTION NO. 57:

       All Documents Concerning or Relating to the impact that including or excluding human-

generated text from a Large Language Model’s training data has on the quality of its outputs.

RESPONSE TO REQUEST FOR PRODUCTION NO. 57:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft also objects to the Request as overly broad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll Documents.”

Microsoft further objects to this Request to the extent it assumes that Microsoft programmed,

trained, or otherwise developed OpenAI’s models or applications identified in the Consolidated

Complaint. Microsoft did not train the Relevant Generative AI Models, does not possess the
                                                25
 Case 1:23-cv-08292-SHS-OTW             Document 271-5        Filed 11/19/24      Page 27 of 44




training datasets OpenAI used to train the Relevant Generative AI Models, and is unaware of the

contents of the training datasets used by OpenAI to train the Relevant Generative AI Models.

Microsoft further objects to this Request as irrelevant and/or vague, ambiguous, overly broad, and

not proportional to the needs of the case because it requests information concerning all of

Microsoft’s and OpenAI’s training datasets, pre-training datasets, and/or fine-tuning datasets,

regardless of whether they have been identified in the Consolidated Complaint and/or bear any

relation to the LLMs at issue in these Actions.

        Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, concerning the impact

that including or excluding human-generated texted from the Relevant Generative AI Models has

on the quality of its outputs.

REQUEST FOR PRODUCTION NO. 58:

        Documents sufficient to show any exclusive or non-exclusive rights granted to You by

OpenAI to commercialize, monetize, or productize OpenAI’s Large Language Models, training

data, or intellectual property.

RESPONSE TO REQUEST FOR PRODUCTION NO. 58:

        Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” Microsoft objects to the Request as vague and ambiguous because the term

“productize” is undefined. Microsoft objects to this Request as irrelevant and/or vague, ambiguous,

overly broad, and not proportional to the needs of the case because it requests information

concerning all of OpenAI’s training datasets, pre-training datasets, and/or fine-tuning datasets,

regardless of whether they have been identified in the Consolidated Complaint and/or bear any

relation to the LLMs at issue in these Actions.



                                                  26
 Case 1:23-cv-08292-SHS-OTW             Document 271-5        Filed 11/19/24      Page 28 of 44




       Subject to these objections, Microsoft responds as follows: Microsoft has produced the

agreements between it and OpenAI related to Microsoft’s rights as to the Relevant Generative AI

Models and the intellectual property related to the Relevant Generative AI Models.

REQUEST FOR PRODUCTION NO. 59:

       Documents sufficient to identify all of Your commercial products that use or include any

Large Language Model developed by OpenAI, including but not limited to, Your Bing search

engine (as set forth in the First Consolidated Complaint [Fiction Docket No. 69] at ⁋166) as well

as Microsoft Teams, Microsoft 365 Copilot and GitHub Copilot (id. at ⁋167).

RESPONSE TO REQUEST FOR PRODUCTION NO. 59:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” Microsoft objects to this Request as irrelevant and/or vague, ambiguous, overly

broad, and not proportional to the needs of the case because it requests information concerning all

of OpenAI’s LLMs, regardless of whether they have been identified in the Consolidated Complaint

and/or bear any relation to the LLMs at issue in these Actions. Microsoft further objects to this

Request as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs of

the case because it seeks information related to commercial products that bear no relationship to

Plaintiffs’ infringement allegations in the Consolidated Complaint, which focus on training of the

Relevant Generative AI Models.

       Microsoft responds as follows: Microsoft will not currently search for documents

responsive to this Request but is willing to meet and confer regarding the scope of this Request.

REQUEST FOR PRODUCTION NO. 60:

       Documents sufficient to identify each person within Microsoft who participated, was

involved in or was consulted Concerning the use, implementation or incorporation of ChatGPT

or Large Language Models in Your commercial products.

                                                27
 Case 1:23-cv-08292-SHS-OTW             Document 271-5         Filed 11/19/24     Page 29 of 44




RESPONSE TO REQUEST FOR PRODUCTION NO. 60:

         Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” Microsoft objects to this Request as irrelevant and/or vague, ambiguous, overly

broad, and not proportional to the needs of the case because it requests information concerning all

of LLMs and versions of ChatGPT utilized in Microsoft products, regardless of whether they have

been identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in

these Actions. Microsoft objects to this Request as irrelevant and/or vague, ambiguous, overly

broad, and not proportional to the needs of the case because it requests information concerning

“each” person where identifying “each” such person is not relevant nor proportionate to the case.

Microsoft also objects to this Request as irrelevant and/or overly broad and not proportional to the

needs of the case because it seeks information related to Microsoft’s development of products

incorporating LLMs, which is not relevant to allegations in the Consolidated Complaint. Microsoft

further objects to this Request as irrelevant and/or vague, ambiguous, overly broad, and not

proportional to the needs of the case because it seeks information related to commercial products

that bear no relationship to Plaintiffs’ infringement allegations in the Consolidated Complaint,

which focus on training of the Relevant Generative AI Models.

         Microsoft responds as follows: Microsoft will not currently search for documents

responsive to this Request but is willing to meet and confer regarding the scope of this Request.

REQUEST FOR PRODUCTION NO. 61:

         All Documents Concerning or Relating to customers substituting away from or towards

a Microsoft product using a Large Language Model based on the quality of the Large Language

Model.




                                                28
 Case 1:23-cv-08292-SHS-OTW              Document 271-5          Filed 11/19/24      Page 30 of 44




RESPONSE TO REQUEST FOR PRODUCTION NO.61:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft also objects to the Request as overly broad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll Documents.”

Microsoft also objects to the phrase “substituting away from or towards” as vague and ambiguous

in that this phrase is undefined. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case because it requests

information concerning all LLMs utilized in Microsoft products, regardless of whether they have

been identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in

these Actions. Microsoft further objects to this Request as irrelevant and/or vague, ambiguous,

overly broad, and not proportional to the needs of the case because it seeks information related to

Microsoft products that bear no relationship to Plaintiffs’ infringement allegations in the

Consolidated Complaint, which focus on training of the Relevant Generative AI Models.

       Microsoft responds as follows: Microsoft will not currently search for documents

responsive to this Request but is willing to meet and confer regarding the scope of this Request.

REQUEST FOR PRODUCTION NO. 62:

       Documents sufficient to identify Your gross revenues, net revenues, and profits, by month,

from Your commercial products that include or use ChatGPT or Large Language Models.

RESPONSE TO REQUEST FOR PRODUCTION NO. 62:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case because it requests

information concerning all LLMs utilized in Microsoft products, regardless of whether they have

been identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in
                                                  29
 Case 1:23-cv-08292-SHS-OTW              Document 271-5        Filed 11/19/24      Page 31 of 44




these Actions. Microsoft also objects to this Request to the extent it seeks information on revenues,

which are not relevant to the allegations in the Consolidated Complaint. Microsoft further objects

to this Request as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the

needs of the case because it seeks information related to commercial products that bear no

relationship to Plaintiffs’ infringement allegations in the Consolidated Complaint, which focus on

training of the Relevant Generative AI Models.

       Microsoft responds as follows: Microsoft will not currently search for documents

responsive to this Request but is willing to meet and confer regarding the scope of this Request.

REQUEST FOR PRODUCTION NO. 63:

       Documents sufficient to show the gross revenues, net revenues, and profits, by month,

generated by each Large Language Model You have commercialized, sold, and/or licensed, either

as a standalone product or as part of another product.

RESPONSE TO REQUEST FOR PRODUCTION NO. 63:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case because it requests

information concerning all LLMs utilized in Microsoft products, regardless of whether they have

been identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in

these Actions. Microsoft further objects to this Request as irrelevant and/or vague, ambiguous,

overly broad, and not proportional to the needs of the case because it seeks information related to

commercial products that bear no relationship to Plaintiffs’ infringement allegations in the

Consolidated Complaint, which focus on training of the Relevant Generative AI Models.

       Microsoft responds as follows: Microsoft will not currently search for documents

responsive to this Request but is willing to meet and confer regarding the scope of this Request.
                                                 30
 Case 1:23-cv-08292-SHS-OTW              Document 271-5        Filed 11/19/24      Page 32 of 44




REQUEST FOR PRODUCTION NO. 64:

       Document sufficient to show Your balance sheet, income statement, and cash flow

statement, on a monthly basis during the relevant time period.

RESPONSE TO REQUEST FOR PRODUCTION NO. 64:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case because it requests financial

information that is not tailored to and/or does not bear any relation to the allegations in the

Consolidated Complaint.

       Microsoft responds as follows: Microsoft will not search for and produce documents

responsive to this Request.

REQUEST FOR PRODUCTION NO. 65:

       All Documents Concerning or Relating to predictions, forecasts, or projections of profits,

revenues or cash flows of OpenAI or from Large Language Models or products using or

containing Large Language Models.

RESPONSE TO REQUEST FOR PRODUCTION NO. 65:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft also objects to this Request as overly broad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll Documents.”

Microsoft also objects to the Request to the extent that it seeks information related to predictions,

forecasts, or projections of profits, revenues, or cash flows of OpenAI as requesting documents

that are not in Microsoft’s possession, custody, or control. Microsoft also objects to this Request

to the extent it seeks information regarding predictions, forecasts, and projections, which are not

relevant to the allegations in the Consolidated Complaint. Microsoft further objects to this Request

                                                 31
 Case 1:23-cv-08292-SHS-OTW              Document 271-5        Filed 11/19/24      Page 33 of 44




as irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs of the case

because it requests information concerning all LLMs utilized in Microsoft products, regardless of

whether they have been identified in the Consolidated Complaint and/or bear any relation to the

LLMs at issue in these Actions. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case because it seeks information

related to commercial products or services that bear no relationship to Plaintiffs’ infringement

allegations in the Consolidated Complaint, which focus on training of the Relevant Generative AI

Models.

       Microsoft responds as follows: Microsoft will conduct a reasonable search and produce

responsive, nonprivileged documents, if any, concerning predictions, forecasts, or projections of

profits, revenues, or cash flows of OpenAI and is willing to meet and confer regarding the scope

of this Request.

REQUEST FOR PRODUCTION NO. 66:

       All presentations, memoranda, or other Documents provided to Your Board of Directors

Concerning or Relating to OpenAI’s development of Large Language Models.

RESPONSE TO REQUEST FOR PRODUCTION NO. 66:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft also objects to this Request as overly broad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll Documents.”

Microsoft further objects to this Request as irrelevant and/or vague, ambiguous, overly broad, and

not proportional to the needs of the case because it requests information concerning all LLMs,

regardless of whether they have been identified in the Consolidated Complaint and/or bear any

relation to the LLMs at issue in these Actions.



                                                  32
 Case 1:23-cv-08292-SHS-OTW             Document 271-5         Filed 11/19/24     Page 34 of 44




       Subject to these objections, Microsoft responds as follows: Microsoft has produced

documents responsive to this Request and will produce responsive, nonprivileged documents that

have not yet been produced, if any, provided to Microsoft’s Board of Directors relating to OpenAI’s

development of Relevant Generative AI Models.

REQUEST FOR PRODUCTION NO. 67:

       Documents sufficient to show each version of the terms and/or conditions of use of Your

products that use or include ChatGPT or Large Language Models.

RESPONSE TO REQUEST FOR PRODUCTION NO. 67:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case because it requests

information concerning all LLMs utilized in Microsoft products, regardless of whether they have

been identified in the Consolidated Complaint and/or bear any relation to the LLMs at issue in

these Actions. Microsoft further objects to this Request as irrelevant and/or vague, ambiguous,

overly broad, and not proportional to the needs of the case because it seeks information related to

commercial products that bear no relationship to Plaintiffs’ infringement allegations in the

Consolidated Complaint, which focus on training of the Relevant Generative AI Models.

       Microsoft responds as follows: Microsoft will not currently search for documents

responsive to this Request but is willing to meet and confer regarding the scope of this Request.

REQUEST FOR PRODUCTION NO. 68:

       Retention agreements You entered from January 1, 2016 to the present, with any law firm(s)

for actual or potential copyright litigation Related to Your investment in and/or partnership with

OpenAI.



                                                33
 Case 1:23-cv-08292-SHS-OTW             Document 271-5         Filed 11/19/24     Page 35 of 44




RESPONSE TO REQUEST FOR PRODUCTION NO. 68:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case because it requests

information that does not bear any relation to the allegations in the Consolidated Complaint.

Microsoft also objects to the timeframe of January 1, 2016, to present on the grounds that it is

irrelevant and/or overly broad, unduly burdensome, and not proportional to the needs of the case

to the extent that it seeks communications prior to when Microsoft partnered with OpenAI in 2019.

Microsoft further objects to this Request because it appears designed to invade the attorney-client

privilege and attorney work-product protections.

       Subject to these objections, Microsoft responds as follows: Microsoft will not search for

and produce documents responsive to this Request as they are Privileged Materials.

REQUEST FOR PRODUCTION NO. 69:

       Documents sufficient to show all indemnification provisions agreed to by and between

You and OpenAI.

RESPONSE TO REQUEST FOR PRODUCTION NO. 69:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case to the extent it requests

information related to the relationship between Microsoft and OpenAI that does not bear any

relation to the allegations in the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft has produced the

agreements between it and OpenAI related to the Relevant Generative AI Models.



                                                34
 Case 1:23-cv-08292-SHS-OTW              Document 271-5        Filed 11/19/24      Page 36 of 44




REQUEST FOR PRODUCTION NO. 70:

       All Documents Concerning or Relating to whether OpenAI’s use of copyrighted material

as Training Material complies with copyright law in the United States or elsewhere.

RESPONSE TO REQUEST FOR PRODUCTION NO. 70:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft objects to this Request on the grounds that it is irrelevant

and/or overly broad, unduly burdensome, and not proportional to the needs of the case to the extent

that it seeks information concerning use of any copyrighted material, owned by anyone, at any

time, and without any subject matter or geographic limitation. Microsoft also objects to the

Request as overly broad, unduly burdensome, and not proportional to the needs of the case to the

extent it seeks “[a]ll Documents.” Microsoft further objects to this Request to the extent it assumes

that Microsoft trained or otherwise developed OpenAI’s models or applications identified in the

Consolidated Complaint. Microsoft did not train the Relevant Generative AI Models, does not

possess the training datasets OpenAI used to train the Relevant Generative AI Models, and is

unaware of the contents of the training datasets used by OpenAI to train the Relevant Generative

AI Models. Microsoft further objects to this Request as irrelevant and/or overly broad and not

proportional to the needs of the case to the extent it requests information regarding the copyright

laws in any jurisdiction other than the United States. Microsoft further objects to this Request as

irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs of the case

because it requests information concerning all of OpenAI’s training datasets, pre-training datasets,

and/or fine-tuning datasets, regardless of whether they have been identified in the Consolidated

Complaint and/or bear any relation to the LLMs at issue in these Actions. Microsoft further objects

to this Request because it appears designed to invade the attorney-client privilege and attorney

work-product protections.
                                                 35
 Case 1:23-cv-08292-SHS-OTW             Document 271-5        Filed 11/19/24      Page 37 of 44




       Subject to these objections, Microsoft responds as follows: Microsoft will not search for

and produce documents responsive to this Request as they are Privileged Materials.

REQUEST FOR PRODUCTION NO. 71:

       All Documents You received from OpenAI in the course of Your due diligence regarding

each of Your investments in OpenAI.

RESPONSE TO REQUEST FOR PRODUCTION NO. 71:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft also objects to the Request as overly broad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll Documents.”

Microsoft further objects to this Request as irrelevant and/or vague, ambiguous, overly broad, and

not proportional to the needs of the case to the extent it requests information related to the

relationship between Microsoft and OpenAI that does not bear any relation to the allegations in

the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, that Microsoft

received from OpenAI in the course of Microsoft’s due diligence regarding each of Microsoft’s

investments in OpenAI related to the Relevant Generative AI Models.

REQUEST FOR PRODUCTION NO. 72:

       Documents and Communications Concerning or Relating to Your decision to modify

Your normal due diligence process for the purposes of Your investment in OpenAI.

RESPONSE TO REQUEST FOR PRODUCTION NO. 72:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft also objects to the phrase “decision to modify” as vague

and ambiguous in that this phrase is undefined. Microsoft further objects to this Request as

                                                36
 Case 1:23-cv-08292-SHS-OTW             Document 271-5         Filed 11/19/24     Page 38 of 44




irrelevant and/or vague, ambiguous, overly broad, and not proportional to the needs of the case to

the extent it requests information related to the relationship between Microsoft and OpenAI that

does not bear any relation to the allegations in the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft will not currently

search for and produce documents responsive to this Request but is willing to meet and confer.

REQUEST FOR PRODUCTION NO. 73:

       Documents sufficient to identify all data that was shared among You and OpenAI in the

course of Your partnership with OpenAI, including but not limited to data shared pursuant to the

terms of the Joint Development and Collaboration Agreement (the “JDCA”) (initial JDCA

produced at MSFT_AICPY_000000345) since June 2019.

RESPONSE TO REQUEST FOR PRODUCTION NO. 73:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case to the extent it requests

information related to the relationship between Microsoft and OpenAI that does not bear any

relation to the allegations in the Consolidated Complaint. Microsoft also objects to the Request as

vague and ambiguous to the extent it requests “data” that is undefined.

       Subject to these objections, Microsoft responds as follows: Microsoft will not currently

search for documents responsive to this Request but is willing to meet and confer regarding the

scope of this Request.

REQUEST FOR PRODUCTION NO. 74:

       Documents sufficient to identify each of Your employees who at any point had access to

“Restricted Access Model Training Code” pursuant to Section 3(e) of the Second Amended and

Restated JDCA (the “Second Amended JDCA”) (MSFT_AICPY_000000575).

                                                37
 Case 1:23-cv-08292-SHS-OTW             Document 271-5         Filed 11/19/24     Page 39 of 44




RESPONSE TO REQUEST FOR PRODUCTION NO. 74:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request irrelevant and/or as vague,

ambiguous, overly broad, and not proportional to the needs of the case to the extent it requests

information related to the relationship between Microsoft and OpenAI that does not bear any

relation to the allegations in the Consolidated Complaint. Microsoft objects to this Request as

vague and ambiguous because the term “access” is undefined.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, sufficient to show all

Microsoft employees who at any point had access to any “Restricted Access Model Training Code”

related to the Relevant Generative AI Models.

REQUEST FOR PRODUCTION NO. 75:

       Documents sufficient to identify any “secure repository” You identified to OpenAI

pursuant to Section 3(e)(iv) the Amended and Restated JDCA (MSFT_AICPY_000004210).

RESPONSE FOR REQUEST FOR PRODUCTION NO. 75:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case to the extent it requests

information related to the relationship between Microsoft and OpenAI that does not bear any

relation to the allegations in the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, sufficient to show any

secure repository Microsoft identified to OpenAI related to the Relevant Generative AI Models.



                                                38
 Case 1:23-cv-08292-SHS-OTW             Document 271-5         Filed 11/19/24     Page 40 of 44




REQUEST FOR PRODUCTION NO. 76:

       Documents sufficient to identify all individuals involved in copying the “Development

Materials”—as defined in the Second Amended JDCA—for storage in Your secure repository, as

set forth in Section 3(h)(iv) the Second Amended JDCA.

RESPONSE TO REQUEST FOR PRODUCTION NO. 76:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft further objects to this Request as irrelevant and/or vague,

ambiguous, overly broad, and not proportional to the needs of the case to the extent it requests

information related to the relationship between Microsoft and OpenAI that does not bear any

relation to the allegations in the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, sufficient to identify

any individuals involved in copying any “Development Materials,” as defined in the Second

Amended JDCA, for storage in any secure repository of Microsoft related to the Relevant

Generative AI Models.

REQUEST FOR PRODUCTION NO. 77:

       All Documents Concerning or Relating to the Data Working Group, as referenced in the

Second Amended JDCA, including but not limited to all Communications among members of,

meeting minutes of, and data policies compiled by the Data Working Group.

RESPONSE FOR REQUEST FOR PRODUCTION NO. 77:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft also objects to the Request as overly broad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll Documents”

and “all Communications.” Microsoft further objects to this Request as irrelevant and/or vague,

                                                39
 Case 1:23-cv-08292-SHS-OTW             Document 271-5        Filed 11/19/24      Page 41 of 44




ambiguous, overly broad, and not proportional to the needs of the case to the extent it requests

information related to the relationship between Microsoft and OpenAI that does not bear any

relation to the allegations in the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, concerning

Microsoft’s involvement in the Data Working Group as it relates to the Relevant Generative AI

Models.

REQUEST FOR PRODUCTION NO. 78:

       All Documents created in the course of the Governing Board’s—as referenced in the

Second Amended JDCA—duties, including but not limited to meeting minutes, memorandum and

Communications.

RESPONSE TO REQUEST FOR PRODUCTION NO. 78:

       Microsoft incorporates by reference and reasserts its General Objections to Plaintiffs’

“Definitions” set forth above. Microsoft also objects to the Request as overly broad, unduly

burdensome, and not proportional to the needs of the case to the extent it seeks “[a]ll Documents.”

Microsoft further objects to this Request as irrelevant and/or vague, ambiguous, overly broad, and

not proportional to the needs of the case to the extent it requests information related to the

relationship between Microsoft and OpenAI that does not bear any relation to the allegations in

the Consolidated Complaint.

       Subject to these objections, Microsoft responds as follows: Microsoft will conduct a

reasonable search and produce responsive, nonprivileged documents, if any, concerning

Microsoft’s involvement in Governing Board as it relates to the Relevant Generative AI Models.




                                                40
Case 1:23-cv-08292-SHS-OTW   Document 271-5     Filed 11/19/24     Page 42 of 44




Dated: September 13, 2024        Respectfully submitted,

                                 /s/ Jared B. Briant
                                 Jared B. Briant (Admitted Pro Hac Vice)
                                 FAEGRE DRINKER BIDDLE & REATH LLP
                                 1144 Fifteenth Street, Suite 3400
                                 Denver, CO 80202
                                 Telephone: (303) 607-3500
                                 Facsimile: (303) 607-3600
                                 Email: jared.briant@faegredrinker.com

                                 Annette L. Hurst (Admitted Pro Hac Vice)
                                 ORRICK, HERRINGTON & SUTCLIFFE LLP
                                 The Orrick Building, 405 Howard Street
                                 San Francisco, CA 94105-2669
                                 Telephone: (415) 773-5700
                                 Facsimile: (415) 773-5759
                                 Email: ahurst@orrick.com

                                 Sheryl Garko (Admitted Pro Hac Vice)
                                 Laura Najemy (Admitted Pro Hac Vice)
                                 ORRICK, HERRINGTON & SUTCLIFFE LLP
                                 222 Berkley Street
                                 Boston, MA 02116
                                 Telephone: (617) 880-1800
                                 Facsimile: (617) 880-1801
                                 Email: sgarko@orrick.com
                                       lnajemy@orrick.com

                                 Christopher Cariello
                                 Marc Shapiro
                                 ORRICK, HERRINGTON & SUTCLIFFE LLP
                                 51 West 52nd Street
                                 New York, NY10019
                                 Telephone: (212) 506-3778
                                 Facsimile: (212) 506-5151
                                 Email: ccariello@orrick.com
                                        mrshapiro@orrick.com

                                 Jeffrey S. Jacobson
                                 FAEGRE DRINKER BIDDLE & REATH LLP
                                 1177 Avenue of the Americas, 41st Floor
                                 New York, New York 10036
                                 Telephone: (212) 248-3140
                                 Facsimile: (212) 248-3141
                                 Email: jeffrey.jacobson@faegredrinker.com
                                  Attorneys for Defendant Microsoft Corporation
                                   41
Case 1:23-cv-08292-SHS-OTW          Document 271-5     Filed 11/19/24     Page 43 of 44




                    PROOF OF SERVICE VIA ELECTRONIC MAIL

        On September 13, 2024, per the parties’ agreements, I directed DEFENDANT
MICROSOFT CORPORATION’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’
SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS to be served via
electronic mail upon:

                        Alter-AI-TT@simplelists.susmangodfrey.com

Rachel Geman                                 Scott J. Shoulder
Anna Josefine Freymann                       CeCe M. Cole
LIEFF CABRASER HEIMANN &                     COWAN DEBAETS ABRAHAMS &
BERNSTEIN, LLP                               SHEPPARD LLP
250 Hudson Street, 8th Floor                 60 Broad St., 30th Floor
New York, NY 10013-1413                      New York, NY 10004
Telephone: 212.355.9500                      Telephone: 212.974.7474

Reilly T. Stoler                             J. Craig Smyser
Ian M. Bensberg                              Charlotte Lepic
LIEFF CABRASER HEIMANN &                     SUSMAN GODFREY L.L.P.
BERNSTEIN LLP                                One Manhattan West
275 Battery Street, 29th Floor               Ste. 50th Fl.
San Francisco, CA 94111-3339                 New York, NY 100001
Telephone: 415.956.1000                      Telephone: 212.336.8330

Justin A. Nelson                             Rohit D. Nath
Alejandra C. Salinas                         SUSMAN GODFREY L.L.P.
SUSMAN GODFREY L.L.P.                        1900 Avenue of the Stars, Suite 1400
1000 Louisiana Street, Suite 5100            Los Angeles, California 90067
Houston, TX 77002                            Telephone: 310.789.3100
Telephone: 713.651.9366

Wesley Dozier
LIEFF CABRASER HEIMANN &
BERNSTEIN LLP
222 2nd Avenue, Suite 1640
Nashville, TN 37201
Telephone: 615.313.9000

                                    KVPOAI@keker.com

Robert A. Van Nest
R. James Slaughter
Katie L. Joyce
Michelle S. Ybarra
Nicholas S. Goldberg
Case 1:23-cv-08292-SHS-OTW           Document 271-5      Filed 11/19/24   Page 44 of 44




Thomas E. Gorman
Paven Malhotra
Christopher S. Sun
KEKER & VAN NEST LLP
633 Battery Street
San Francisco, CA 94111
Telephone: 415.391.5400

                       OpenAICopyrightLitigation.lwteam@lw.com

Sarang Damle                                   Andrew Gass
Elana N. Dawson                                Joseph Richard Wetzel, Jr.
LATHAM & WATKINS LLP                           LATHAM & WATKINS, LLP
555 Eleventh Street NW, Suite 1000             505 Montgomery Street, Suite 2000
Washington, DC 20004                           San Francisco, CA 94111
Telephone: 202.637.2200                        Telephone: 415.391.0600

Allison Levine Stillman
Rachel R. Blitzer
LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020
Telephone: 212.906.1200

                              OpenAICopyright@mofo.com

Joseph C. Gratz                                Allyson R. Bennett
Vera Ranieri                                   Rose S. Lee
Andrew L. Perito                               MORRISON & FOERSTER LLP
Tiffany Cheung                                 707 Wilshire Boulevard
MORRISON & FOERSTER LLP                        Los Angeles, CA 90017-3543
425 Market Street                              Telephone: 213.892.5200
San Francisco, CA 94105-2482
Telephone: 415.268.7522

Eric Nikolaides
MORRISON & FOERSTER LLP
250 W. 55th Street
New York, NY 10019
Telephone: 212.468.8000

                                                 /s/ Shelley M. Meyer
                                                 Shelley M. Meyer




                                           2
